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 8
                                    UNITED STATES DISTRICT COURT
 9                                NORTHERN DISTRICT OF CALIFORNIA
                                          SAN JOSE DIVISION
10
11   In re Adobe Systems Inc. Privacy Litigation            Lead Case No. 5:13-cv-05226-LHK
12                                                          [Consolidated with Case Nos. 13-cv-05596-LHK,
                                                            13-cv-05611-LHK, 13-cv-05930-LHK,
13                                                          14-cv-00014-LHK, 14-cv-00030-LHK, and
                                                            14-cv-00157-LHK]
14
15                                                          [PROPOSED] ORDER GRANTING
                                                            PLAINTIFFS’ MOTION FOR APPROVAL
16                                                          OF ATTORNEY FEES
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      [PROPOSED] ORDER GRANTING PLTFS’ MOTION FOR APPROVAL OF ATTORNEY FEES
                          LEAD CASE NO. 5:13-cv-05226-LHK
              Case 5:13-cv-05226-LHK Document 107 Filed 08/13/15 Page 2 of 3




 1          This matter comes before the Court on Plaintiffs’ Motion for Approval of Attorney Fees [ECF
 2   No. 97], which was filed in connection with Plaintiffs’ Motion for Approval of Voluntary Dismissal of
 3   Putative Class Claims Pursuant to Settlement [ECF No. 87] and pursuant to the Court’s order of June
 4   10, 2015 [ECF No. 90]. Having reviewed the arguments and evidence submitted in support of the
 5   motion, the Court GRANTS Plaintiffs’ motion and finds as follows:
 6          1.      In settlement of Plaintiffs’ claim for attorney fees and expenses under California’s
 7   private attorney general statute, Cal. Civ. Proc. Code § 1021.5, and as part of the parties’ mediated
 8   individual settlement [ECF No. 87-2], Defendant Adobe Systems Inc. has agreed to pay Plaintiffs’
 9   counsel $1,180,000 in attorney fees and expenses.
10          2.      The Court has reviewed the declarations submitted by Plaintiffs’ lead counsel, Eric H.
11   Gibbs [ECF Nos. 87-1, 98]; the contemporaneous billing records submitted by Plaintiffs’ counsel; each
12   attorney’s, paralegal’s, and staff member’s billing rates; and the justifications for those billing rates.
13          3.      The Court finds that class counsel reasonably spent 2,539.8 hours representing the
14   interests of Adobe consumers through this litigation, finds counsel’s hourly rates to be reasonable and
15   in line with the prevailing rates in the community for complex litigation, and finds that $1,281,952 is a
16   reasonable lodestar value for the legal services provided by Plaintiffs’ counsel.
17          4.      The Court has also considered the factors that can support upward or downward
18   adjustments of counsel’s lodestar under California law and finds that those factors—in particular, the
19   contingency risk that counsel faced in pursuing this lawsuit—could support an upward adjustment.
20          5.      Based on the Court’s analysis of counsel’s lodestar and the factors that might support an
21   award of a fee multiplier, the Court finds Adobe’s agreement to pay $1,180,000 to be a reasonable
22   settlement of counsel’s claim for attorney fees and expenses under California’s private attorney general
23   statute. The Court finds no evidence that Adobe has agreed to pay a fee measurably higher than it
24   could conceivably have to pay were the fee amount litigated.
25          6.      Accordingly, the Court grants Plaintiffs’ Motion for Approval of Attorney Fees [ECF
26   No. 97], payable by Adobe as provided for in the parties’ Settlement Agreement [ECF No. 87-2].
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       [PROPOSED] ORDER GRANTING PLTFS’ MOTION FOR APPROVAL OF ATTORNEY FEES
                              CASE NO. 5:13-cv-05226-LHK
             Case 5:13-cv-05226-LHK Document 107 Filed 08/13/15 Page 3 of 3




 1         IT IS SO ORDERED.
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 3   Dated: _____________
             August 13, 2015                  ________________________________
                                              LUCY H. KOH
 4
                                              United States District Judge
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      [PROPOSED] ORDER GRANTING PLTFS’ MOTION FOR APPROVAL OF ATTORNEY FEES
                             CASE NO. 5:13-cv-05226-LHK
